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 8

 9
                                    UNITED STATES DISTRICT COURT
10

11                                CENTRAL DISTRICT OF CALIFORNIA
12                                         SOUTHERN DIVISION
13

14   M. PAPADOPOULOS DENTAL                         Case No. 8:19-cv-232
     CORP. dba VILLAGE FAMILY
15   DENTAL OFFICE, individually, and               CLASS ACTION COMPLAINT
     on behalf of others similarly situated,
16
                            Plaintiff,
17
                 vs.
18
     SIGMAGRAFT, INC. dba
19   SIGMAGRAFT BIOMATERIALS,
20                          Defendant.
21

22

23                                       CLASS ACTION COMPLAINT
24               1.         M. PAPADOPOULOS DENTAL CORP. dba VILLAGE FAMILY
25   DENTAL OFFICE (“Plaintiff”) brings this class action complaint individually, and
26   on behalf of all others similarly situated, against SIGMAGRAFT, INC. dba

27
     SIGMAGRAFT BIOMATERIALS (“Defendant”) for violations of the Telephone
     Consumer Protection Act (“TCPA”) for transmitting one or more facsimiles
28

     {9-1-17 Draft CMS;1}                         -1-                CLASS ACTION COMPLAINT
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 1
     advertising the commercial availability or quality of property, goods, or services,
 2
     without having obtained prior express invitation or permission to transmit said
 3   facsimiles, at any time during the period beginning four (4) years prior to the
 4   commencement of this action and continuing until the present.
 5               2.         Plaintiff’s claims arise under the Telephone Consumer Protection Act,
 6   47 U.S.C. § 227(b)(1)(C), and the regulations, 47 C.F.R. § 64.1200(a)(3),
 7   promulgated thereunder (hereinafter referred to collectively as “TCPA” unless
 8   otherwise indicated). Plaintiff seeks statutory damages and injunctive relief.
 9               3.         The TCPA expressly prohibits unsolicited fax advertising. Unsolicited
10   fax advertising damages the recipients. The recipient is deprived of its paper and ink

11
     or toner, and the use of its fax machine. The recipient also wastes valuable time it
     would have spent on other matters. Unsolicited faxes prevent fax machines from
12
     receiving and sending authorized faxes, cause wear and tear on fax machines, and
13
     require labor to attempt to identify the source and purpose of the unsolicited faxes.
14
                                        JURISDICTION AND VENUE
15
                 4.         This Court has federal question jurisdiction because this case arises out
16
     of violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132
17
     S. Ct. 740 (2012).
18
               5.           Venue is proper in the United States District Court for the Central
19
     District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
20
     Defendant is subject to personal jurisdiction in the County of Orange, State of
21
     California as not only does Defendant regularly conduct business throughout the
22
     State of California, but also, Defendant’s principal place of business is within the
23
     County of Orange, State of California.
24
                                                    PARTIES
25
                 6.         Plaintiff, was and is at all relevant times herein, a resident of the state
26
     of California.
27
                 7.         Defendant is a corporation located in Fullerton, California which
28

     {9-1-17 Draft CMS;1}                              -2-                      CLASS ACTION COMPLAINT
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 1
     transacts business in California.
 2
                 8. At all times relevant hereto, while conducting business in California,
 3
     Defendant has been subject to, and required to abide by the laws of the United States
 4
     which include the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227,
 5
     et seq., and its related regulations that are set forth at 47 C.F.R. § 64.1200 (the “TCPA
 6
     Regulations”), as well as the opinions, regulations and order issued by courts and the
 7
     Federal Communication Commission (“FCC”) implementing, interpreting and
 8
     enforcing the TCPA and the TCPA Regulations.
 9
                                         FACTUAL ALLEGATIONS
10
                 9.         Defendant at all times relevant to the complaint herein engaged in
11
     telecommunications by means of telephone facsimile machines as defined by the
12
     TCPA 47 U.S.C. § 227(a)(3).
13
                 10.        Upon information and belief, Defendant regularly advertises its goods
14
     and services to recipients by transmitting fax advertisements.
15
                 11.        Upon information and belief, the faxes were sent by means of a
16
     telephone facsimile machine that has the capacity to transcribe text or images, or
17
     both, from paper into an electronic signal and to transmit that signal over a regular
18
     telephone line, or onto paper, and send thousands of faxes per day to facsimile
19
     numbers that were preselected by Defendant.
20
               12.          Upon information and belief, Defendant has no procedure or means for
21
     recipients who do not consent to receiving the faxes to stop receiving them.
22
               13.          In this instant case, Defendant had no prior established business
23
     relationship with Plaintiff. Plaintiff has never in the past used Defendant’s services,
24
     nor given Defendant consent to receive unsolicited fax advertisements from
25
     Defendant.
26
               14.          Within four (4) years prior to the commencement of this action,
27
     Defendant, or a third party agent acting on behalf of Defendant, willfully and
28

     {9-1-17 Draft CMS;1}                            -3-                    CLASS ACTION COMPLAINT
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 1
     knowingly transmitted facsimiles to Plaintiff that advertised the commercial
 2
     availability or quality of property, goods, or services.
 3
               15.          Specifically, on or about April 13, 2018, Defendant caused to be
 4
     delivered, which Plaintiff received at Plaintiff’s facsimile number ending in 5137, a
 5
     facsimile advertisement which solicited Plaintiff’s business by advising Plaintiff that
 6
     Defendant provides a 3 month trial service for biomaterials. See Exhibit A.
 7
              16.           Plaintiff did not give Defendant, or any third party acting on behalf of
 8
     Defendant, prior express invitation or permission to transmit the aforementioned
 9
     facsimiles, thereby rendering them unsolicited.
10
              17.           Plaintiff did not agree to make available its facsimile number for
11
     advertisement in a directory.
12
              18.           Based upon information and belief, Defendant transmitted as many as
13
     one (1) unsolicited advertisements to Plaintiff.                 Discovery may reveal the
14
     transmission of additional faxes.
15
              19.           Defendant’s transmission of unsolicited fax advertisements to Plaintiff
16
     and the putative class members is in direction violation of 47 U.S.C. § 227(b)(1)(C),
17
     which specifically prohibits the:
18
                 use any telephone facsimile machine, computer, or other device to send, to a
19
                 telephone facsimile machine, an unsolicited advertisement, unless—
20
                 (i) the unsolicited advertisement is from a sender with an established business
21
                 relationship with the recipient;
22

23               (ii) the sender obtained the number of the telephone facsimile machine

24               through—

25               (I) the voluntary communication of such number, within the context of such
26               established business relationship, from the recipient of the unsolicited
27               advertisement, or
28               (II) a directory, advertisement, or site on the Internet to which the recipient
     {9-1-17 Draft CMS;1}                             -4-                     CLASS ACTION COMPLAINT
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 1
                 voluntarily agreed to make available its facsimile number for public
 2
                 distribution, except that this clause shall not apply in the case of an unsolicited
 3
                 advertisement that is sent based on an established business relationship with
 4
                 the recipient that was in existence before July 9, 2005, if the sender possessed
 5
                 the facsimile machine number of the recipient before July 9, 2005; and
 6
                 (iii) the unsolicited advertisement contains a notice meeting the requirements
 7
                 under paragraph (2)(D).
 8

 9               20.        Defendant, whose products or services were advertised, or whose

10   clients’ and/or agents’ products or services were advertised in the faxes, derived

11   economic benefit from the sending of these faxes.

12               21.        As a result of Defendant’s alleged violations of law by placing these

13   unsolicited fax advertisements from Defendant, Defendant caused Plaintiff harm

14   and/or injury such that Article III standing is satisfied in at least the following, if not

15   more, ways:

16                          a.    Invading Plaintiff’s privacy;
17                          b.    Electronically intruding upon Plaintiff’s seclusion;
18                          c.    Intrusion into Plaintiff’s use and enjoyment of its facsimile
19   machine;
20                          d.    Impermissibly occupying minutes, data, availability to receive
21   other faxes, and various other intangible rights that Plaintiff has as to complete
22   ownership and use of its facsimile machine;
23                          e.    Causing Plaintiff to expend needless time in receiving,
24   answering, and attempting to dispose of Defendant’s unwanted faxes.
25
                                      CLASS ACTION ALLEGATIONS
26
                 22.        Plaintiff brings this action individually and on behalf of and all others
27
     similarly situated (“the Class”).
28

     {9-1-17 Draft CMS;1}                             -5-                      CLASS ACTION COMPLAINT
Case 8:19-cv-00232-DOC-DFM Document 1 Filed 02/05/19 Page 6 of 9 Page ID #:6



 1
                 23.        Plaintiff represents, and is a member of, the Classes, consisting of:
 2
                 All persons in the United States who received any unsolicited fax
 3
                 advertisement on their telephone facsimile machines from Defendant or
 4
                 its agents(s) and/or employee(s) within the four years prior to the filing
 5
                 of the Complaint.
 6
                 Defendant and its employees or agents are excluded from the Classes. Plaintiff
 7
     does not know the number of members in the Classes, but believe the Class members
 8
     number in the thousands, if not more. Thus, this matter should be certified as a Class
 9
     action to assist in the expeditious litigation of this matter.
10
                 24.        Plaintiff and members of the Classes were harmed by the acts of
11
     Defendant in at least the following ways: Defendant, either directly or through its
12
     agents, illegally contacted Plaintiff and the Class members via their telephone
13
     facsimile machines by sending unsolicited fax advertisements. Plaintiff and the Class
14
     members were damaged thereby.
15
                 25.        This suit seeks only damages and injunctive relief for recovery of
16
     economic injury on behalf of the Class, and it expressly is not intended to request any
17
     recovery for personal injury and claims related thereto. Plaintiff reserves the right to
18
     expand the Class definition to seek recovery on behalf of additional persons as
19
     warranted as facts are learned in further investigation and discovery.
20
                 26.        The joinder of the Class members is impractical and the disposition of
21
     their claims in the Class action will provide substantial benefits both to the parties
22
     and to the court. The Class can be identified through Defendant’s records or
23
     Defendant’s agents’ records.
24
                 27.        There is a well-defined community of interest in the questions of law
25
     and fact involved affecting the parties to be represented. The questions of law and
26
     fact to the Classes predominate over questions which may affect individual Class
27
     members, including the following:
28

     {9-1-17 Draft CMS;1}                              -6-                     CLASS ACTION COMPLAINT
Case 8:19-cv-00232-DOC-DFM Document 1 Filed 02/05/19 Page 7 of 9 Page ID #:7



 1
                  a.        Whether, within the four years prior to the filing of this Complaint,
 2
                            Defendant or its agents sent any unsolicited fax advertisements to a
 3
                            Class member;
 4
                  b.        Whether Plaintiff and the Class members were damaged thereby, and
 5
                            the extent of damages for such violation; and
 6
                  c.        Whether Defendant and its agents should be enjoined from engaging in
 7
                            such conduct in the future.
 8
                 As a recipient of unsolicited fax advertisements from Defendant, Plaintiff is
 9
     asserting claims that are typical of the Class. Plaintiff will fairly and adequately
10
     represent and protect the interests of the Classes in that Plaintiff has no interests
11
     antagonistic to any member of the Classes.
12
                 28.        Plaintiff and the members of the Classes have all suffered irreparable
13
     harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class
14
     action, the Classes will continue to face the potential for irreparable harm. In
15
     addition, these violations of law will be allowed to proceed without remedy and
16
     Defendant will likely continue such illegal conduct. Because of the size of the
17
     individual Class member’s claims, few, if any, Class members could afford to seek
18
     legal redress for the wrongs complained of herein.
19
                 29.        Plaintiff has retained counsel experienced in handling class action
20
     claims and claims involving violations of the Telephone Consumer Protection Act.
21
                 30.        A class action is a superior method for the fair and efficient adjudication
22
     of this controversy. Class-wide damages are essential to induce Defendant to comply
23
     with federal and state laws. The interest of Class members in individually controlling
24
     the prosecution of separate claims against Defendant is small because the maximum
25
     statutory damages in an individual action for violation of privacy are minimal.
26
     Management of these claims is likely to present significantly fewer difficulties than
27
     those presented in many class claims.
28

     {9-1-17 Draft CMS;1}                              -7-                      CLASS ACTION COMPLAINT
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 1
                 31.        Defendant has acted on grounds generally applicable to the Class,
 2
     thereby making appropriate final injunctive relief and corresponding declaratory
 3
     relief with respect to the Class as a whole.
 4
                                          FIRST CLAIM FOR RELIEF
 5
            (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227)
 6
                 32.        Plaintiff incorporates by reference all of the above paragraphs of this
 7
     Complaint as though fully set forth herein at length.
 8
                 33.        At all times herein, Plaintiff was and is entitled to the rights, protections
 9
     and benefits provided under the Telephone Consumer Protection Act, 47 U.S.C. §
10
     227.
11
                 34.        The transmission of facsimiles to Plaintiff as set forth above, violated
12
     47 U.S.C. § 227(b)(1)(C).
13
                 35.        Based upon the foregoing, Plaintiff is entitled to statutory damages
14
     pursuant to 47 U.S.C. §§ 227(b)(3)(B) and 227(b)(3)(C).
15
                 36.        Based upon the foregoing, Plaintiff is entitled to an Order, pursuant to
16
     47 U.S.C. § 227(b)(3)(A), enjoining Defendant from transmitting any advertisements
17
     in violation of 47 U.S.C. § 227(b)(1)(C).
18
                                             PRAYER FOR RELIEF
19
                 WHEREFORE, Plaintiff and members of the Class respectfully request that
20
     judgment be entered against Defendant for the following:
21
                 A.         As a result of Defendant’s negligent violations of 47 U.S.C. §
22
     227(b)(1)(C), Plaintiff and each member of the Classes is entitled to and requests five
23
     hundred dollars ($500.00) in statutory damages, for each and every violation,
24
     pursuant to 47 U.S.C. § 227(b)(3)(B); and
25
                 B.         As a result of Defendant’s willful and/or knowing violations of 47
26
     U.S.C. § 227(b)(1)(C), Plaintiff and each member of the Class is entitled to and
27
     requests treble damages, as provided by statute, up to one thousand five hundred
28

     {9-1-17 Draft CMS;1}                               -8-                      CLASS ACTION COMPLAINT
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 1
     dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
 2
     227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C); and;
 3
                 C.         Issuing an Order, pursuant to 47 U.S.C. § 227(b)(3)(A), enjoining
 4
     Defendant from violating 47 U.S.C. § 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(3);
 5
     and
 6
                 D.         For such other and further relief as the Court may deem just and proper.
 7
                                        DEMAND FOR JURY TRIAL
 8
                 Please take notice that Plaintiff, M. PAPADOPOULOS DENTAL CORP. dba
 9
     VILLAGE FAMILY DENTAL OFFICE, demands trial by jury in this action
10
     pursuant to the seventh amendment to the Constitution of the United States.
11

12
                                                     RESPECTFULLY SUBMITTED,
13
     Dated: February 5, 2019                         MARTIN & BONTRAGER, APC
14

15
                                                     By: /s/ G. Thomas Martin, III
16
                                                            G. Thomas Martin, III
17

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     {9-1-17 Draft CMS;1}                             -9-                     CLASS ACTION COMPLAINT
